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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



NATIONAL ATM COUNCIL, INC., et al.,

               Plaintiffs,                                 Civil Action No. 1:11-Cv-01803-RJL
                                                           Assign Date: 8/4/2015
v.                                                         Description: Antitrust – Class Action

VISA INC., et al.,

                Defendants.


PETER BURKE, et al.,

               Plaintiffs,                                 Civil Action No. 1:11-Cv-1882-RJL
                                                           Assign Date: 8/4/2015
v.                                                         Description: Antitrust – Class Action

VISA INC., et al.,

                Defendants.



                  JOINT SUBMISSION REGARDING CASE SCHEDULE

       In accordance with this Court’s March 7, 2024 Minute Order and Judge Upadhyaya’s

May 23, 2024 Order, ECF No. 227, The National ATM Council, Inc., et al., and Peter Burke, et

al. (collectively “Plaintiffs”) and Defendants 1 in the above-captioned cases respectfully make

this joint submission regarding a case schedule for further proceedings.

       The parties have met and conferred but the two Plaintiff groups have been unable to

reach agreement regarding a case schedule. Burke Plaintiffs’ proposed schedule is attached



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  “Defendants” means Visa Inc., Visa U.S.A. Inc., Visa International Service Association, Plus
System Inc., Mastercard Incorporated, and Mastercard International Incorporated d/b/a
Mastercard Worldwide.
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hereto as Exhibit A. ATM Operator Plaintiffs’ proposed schedule is attached hereto as Exhibit

B. Defendants have no preference as between these two competing schedules, as long as the

Court enters a single schedule with the same deadlines across both matters as a matter of

efficiency and as contemplated by this Court’s March 7, 2024 Minute Order (and numerous prior

rulings of the Court).

Burke Plaintiffs’ Position

       The Burke Plaintiffs propose a seconded amended scheduling order that begins with

submission of Plaintiffs’ expert reports sixty days after completion of the supplemental discovery

(the same amount of time previously allotted in the first amended scheduling order) and, with

one exception, tracks the same date intervals between events as in the prior amended scheduling

order. The exception is that Burke respectfully requests that the interval for preparation of

Plaintiffs’ rebuttal expert reports be lengthened by a modest 15 days, from 45 days to 60 days.

Burke submits there is good cause for this change because the time for preparation of the rebuttal

reports now falls squarely in the year-end Holiday season, which constitutes a material change in

circumstances since the prior amended order was negotiated.

       In the prior amended scheduling order preparation of rebuttal expert reports would have

taken place during the 45 days after submission of Defendants’ expert reports on June 6, 2024.

However, with Defendants’ expert reports now due on December 19, 2024, maintaining the same

interval going forward would squeeze the preparation of rebuttal reports into a 45 day window

that begins at the height of the traditional year-end religious and New Year Holiday season. In

addition, depositions of Defendants’ experts will be needed to prepare Plaintiffs’ rebuttal reports

and will also take place during this same time frame. Simply shifting all of the date intervals

forward without proper consideration of where those dates fall with respect to the annual Holiday




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season would place an undue burden on Burke Plaintiffs, who will be adversely impacted in their

ability to prepare complete and thorough rebuttal reports. Inclusion of an additional 15 days in

the schedule will not prejudice other parties and is a reasonable accommodation to balance for

the inevitable loss of productivity due to holiday events and travel.

       Burke Plaintiffs’ proposed new schedule of dates as set forth in the attached Exhibit A,

together with the respective intervals are:

       Parties to complete supplemental discovery: July 22, 2024 (45 days from June 6)

       Plaintiffs’ expert reports: September 20, 2024 (60 days)

       Defendants’ expert reports: December 19, 2024 (90 days)

       Plaintiffs’ rebuttal expert reports: February 17, 2025 (60 days)

       Expert discovery closes: April 18, 2025 (60 days)

       Burke Plaintiffs oppose any schedule that would shorten the 60 day interval, previously

allotted in the first amended order, for review, analysis and incorporation of supplemental

discovery prior to submission of Plaintiffs’ expert merits reports. Both Wells Fargo data and

independent Operator data were important to the analysis by Burke’s class certification expert,

Dr. Lehr, and updated data from these sources will be important again in the merits phase of the

case. See rebuttal report of Dr. William Lehr PhD at pp. 60-62 (Wells) and pp. 79-81 (two

independent ATM Operators).

ATM Operators’ Position

       The ATM Operator Class schedule is different, and more expedited, than the Burke Class

proposal. The ATM Operator Class submits that there is no longer a compelling reason to

maintain synchrony between the operator’s case schedule and the Burke consumer’s case

schedule at this stage of the litigation. The actions are not consolidated and will not be tried




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together. The Burke Class proposes a schedule that includes a 60-day period after the production

of supplemental data by Wells Fargo and the ATM Operator Class Representatives before

submission of its expert report and an additional two-week period before submission of its expert

rebuttal report. The ATM Operators do not rely on the Wells Fargo data and respectfully object,

after 12 years of litigation, to standing idle for a two-month period to await events to occur in a

separate action. To date, Defendants have benefited from the efficiency of synchronized case

schedules, but at some juncture before trial the schedules must be de-linked. The ATM Operator

Class respectfully submits that doing so at this time will not impose an unreasonable burden on

Defendants, and certainly no greater a burden than would be required of any other Defendants

facing two separate civil actions. For these reasons, the ATM Operator Class respectfully

requests entry of its proposed Second Amended Scheduling Order.

Defendants’ Position

       On December 8, 2023, this Court entered the Amended Scheduling Order that resolved

competing positions raised by the parties. ECF No. 216. Thereafter, Defendants moved for

clarification of the Scheduling Order and to compel the ATM Operators to produce supplemental

discovery. See ECF Nos. 217 and 224. On March 7, 2024, this Court suspended the deadlines in

the Amended Scheduling Order pending resolution of the discovery disputes, which the Court

referred to Magistrate Judge Upadhyaya. The Court’s March 7, 2024 Minute Order stated the

following:

               It is hereby ORDERED that the deadlines set out in the Amended
               Scheduling Order are suspended until the current discovery dispute
               is decided. It is further ORDERED that the parties shall have 14
               days after the decision in the current discovery dispute is issued to
               submit a JOINT scheduling proposal. The joint scheduling proposal
               shall propose new dates only; the Court will not revisit its previous
               decisions regarding, e.g., how expert discovery is to be conducted



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               or how the deadline for MSJ/Daubert briefing will be determined.
               SO ORDERED.
Judge Upadhyaya resolved all of the discovery disputes in Defendants’ favor at a hearing on

May 22, 2024. See ECF No. 227.

       As Defendants explained to Plaintiffs during the parties’ meet and confer, Defendants are

agnostic as between the two competing sets of deadlines proposed by the ATM Operator and

Burke Plaintiffs. However, Defendants strongly oppose ATM Operators’ request that the Court

revisit its March 7, 2024 Minute Order and reverse its long-standing decision to coordinate these

cases for case management and discovery purposes. See ECF No. 117 at 2 (parties stating in

2017 that they “agree with the Court that the three cases should be coordinated for case

management and discovery purposes”). The ATM Operators have made this request multiple

times throughout this litigation, all without success. See, e.g. ECF No. 125 at 3; ECF No. 127 at

13–14. Their attempt to re-introduce a scheduling dispute that the Court has previously resolved

contravenes the Court’s clear instruction that the parties “shall propose new dates only,” and that

“the Court will not revisit its previous decisions regarding, e.g., how expert discovery is to be

conducted.” Mar. 7, 2024 Minute Order (emphasis added).

       In any event, coordination remains the most efficient course for the reasons Defendants

have previously stated. See, e.g., ECF No. 125 at 4; ECF No. 127 at 14. If the deadlines in each

case are different, Defendants will have to serve multiple overlapping expert reports and each of

their experts could be subject to multiple overlapping depositions, as Defendants have previously

explained. “De-linking” the cases serves no purpose other than to obfuscate the obvious

relationship between these two groups of plaintiffs who claim to have been injured by the same

conduct on the same ATM transactions. Moreover, ATM Operators’ expressed concern over




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how the cases will be tried is premature and irrelevant to the deadlines the parties are currently

proposing.

       ATM Operators also ignore reality in suggesting that they are being forced, through no

fault of their own, to await productions “in a separate action.” These cases have been delayed

because for six months ATM Operators refused to produce their own updated data and likewise

refused Defendants’ efforts to obtain updated data from a third party. See ECF No. 217 at 3;

ECF No. 222; ECF No. 224 at 4–5; ECF No. 226-1. Had ATM Operators simply acknowledged

the appropriate scope of supplemental discovery—rather than waiting for Judge Upadhyaya to

reject their baseless objections—the outstanding productions would already have been

completed.

       ATM Operators should not be able to use their own inefficient (and rejected) tactics as a

justification for “de-linking” these cases and thereby creating more inefficiencies going

forward.




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